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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

 SOUTHEAST ALASKA CONSERVATION                      )
 COUNCIL et al.,                                    )
                                                    )
              Plaintiffs,                           )
                                                    )
       v.                                           )   Case No. 1:18-cv-00005-HRH
                                                    )
 EARL STEWART et al.,                               )
                                                    )
              Defendants.                           )
                                                    )

PLAINTIFFS’ THIRD UNOPPOSED MOTION FOR EXTENSION OF TIME TO
      RESPOND TO EARL STEWART’S SECOND DECLARATION




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         Plaintiffs move to extend their deadline to file a response to Earl Stewart’s second

declaration, Doc. 36-1, by 60 days, to October 15, 2019. This is Plaintiffs’ third request

for extension. Doc. 40. The current deadline is August 16, 2019. Doc. 41. The Parties

have agreed to terms of settlement to recommend for approval by supervisory officials at

the Department of Justice and Department of Agriculture. The additional time is

necessary to seek such approval and finalize the settlement agreement.

         Respectfully submitted this 15th day of August, 2019.

                                   s/ Erin Whalen
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                                   Conservation Council; The Boat Company; Alaska
                                   Rainforest Defenders; Alaska Wilderness League;
                                   Center for Biological Diversity; Defenders of
                                   Wildlife; Natural Resources Defense Council; and
                                   UnCruise Adventures




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